Case 1:24-cv-03880-LDH-LKE Document 8 Filed 06/19/24 Page 1 of 4 PageID #: 248




                                        TYRONE A. BLACKBURN
                                                  _____
                                              MEMBER OF
                                            NY, DC, & NJ BAR
                                                 ______
                                         FEDERAL MEMBERSHIP
                                       EDNY, NDNY, SDNY, & DNJ
                                                 ______
                                   1242 EAST 80TH STREET, 3RD FLOOR
                                          BROOKLYN, NY 11236
                                                                                     June 19, 2024
Via ECF
Honorable Judge LaShann DeArcy Hall, U.S.D.J.
United States District Court,
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

~and~

Honorable Judge James R. Cho, U.S.M.J.
United States District Court,
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
                              Re: Daniel Moyle, et al. v. United Parcels Service, Inc., et al.,
                                                                           No. 1:24-cv-3880
Dear Judges Hall and Cho:

        This law firm represents Plaintiffs Daniel Moyle, Roy Welsh, Carlos Palaguachi, Robert
Santiago, Ahmed Radwan, Tyler Lilly, Travis Steele, and Warren Payne ("Plaintiffs") in the
above-referenced matter. I write in response to Defendant's June 6, 2024 letter. I also request oral
argument, as this issue is unique and requires explanation beyond the papers.
        At the onset, I apologize to the Court for my delay in filing my opposition to the motion to
dismiss. As I explained to the Defendants' Counsel, my electronic devices were all hacked, and
all my case files were deleted. I am in the middle of four high-profile cases against Sean Combs
and several record labels. I was not the only victim of this hacking; Counsel for another plaintiff
and her client were also hacked.
        Furthermore, I would like to inform the Court that the Plaintiffs are in the process of
finalizing their motion to remand this case to the State Court, as we believe the Defendant moved
the case to Federal Court in bad faith after Chief Judge Margo Brodie dismissed the prior federal
Complaint without prejudice for lack of subject matter jurisdiction. The Defendant's CAFA
argument is flawed, and that point will be abundantly clear in the Plaintiff's Motion for Remand.
The Defendants cannot overcome the hurdles of 28 U.S.C.S. § 1332(d)(3) and (d)(4), which
requires this case to be remanded to State Court:
1. This case is New York State-specific with no national implications, which is a fact the
    Defendant cannot dispute.
Case 1:24-cv-03880-LDH-LKE Document 8 Filed 06/19/24 Page 2 of 4 PageID #: 249




2. The pleading was written to avoid Federal jurisdiction. During a conference with Magistrate
    Judge Lois Bloom, the Plaintiffs made it clear that they would oppose any CAFA removal, as
    we did not believe that CAFA applied in this case.
3. No out-of-state laws will be implicated in this class action, as New York state wage-an-hour
    laws do not adhere to the Federal Motors Carriers Act (FMCA) standard. This is a fact the
    Defendant cannot dispute. Furthermore, Chief Judge Margo Brodie highlighted this fact in her
    58-page opinion denying the Defendants’ motion to dismiss.
4. Upon information and belief, no other NYS class action has been filed during the three years
    preceding the filing of this class action, or one or more other class actions asserting the same
    or similar claims on behalf of the same or other persons have been filed.
5. More than two-thirds of the members of this proposed class are all NYS residents.
6. The injuries alleged by the members of this proposed class were all incurred in the state of
    New York and no other State, which is a fact the Defendant cannot dispute.
        CAFA expanded federal jurisdiction to permit a defendant to remove a class action or mass
action to federal Court, notwithstanding the absence of the complete diversity or federal question
typically required for removal. The statute grants federal courts jurisdiction over only those class
actions involving 100 or more class members, an aggregate amount in controversy greater than
$5,000,000, and minimal diversity, i.e., where at least one Plaintiff and one Defendant are citizens
of different states, 28 U.S.C.S. §§ 1332(d)(2), 1332(d)(5). Such removal is subject to the general
remand statute, 28 U.S.C.S. § 1447, which authorizes district courts to remand those cases that do
not meet CAFA's threshold requirements, 28 U.S.C.S. § 1453(c)(1). Typically, an order
remanding a case to the State court from which it was removed is not reviewable on appeal or
otherwise, 28 U.S.C.S. § 1447(d). Krasner v. Cedar Realty Tr., Inc., 86 F.4th 522, 524 (2d Cir.
2023).
        We also respectfully request that the Court stay the pre-motion letter filed by Defendants
on June 6, 2024, until the issue of Remand is addressed.

  I.   The Plaintiffs filed their Complaint on January 28, 2024. The Defendants were
       notified of the filing on February 12, 2024. Unfortunately, the Process Server’s
       deceptive practices resulted in a delayed service of the summons and Complaint:

        The Plaintiff’s timely refiled his case in Kings County Supreme Court on January 28, 2024.
On February 12, 2024, this writer contacted Leslie Lejawski, Counsel for UPS, and Laura
Watanabe, Counsel for individual defendants Lloyd Hall and William Grey (they are not party to
this action). This writer notified the Defendants that several lawsuits were filed in Kings County
Supreme Court, including one for the Plaintiffs. The attached affidavit of Tyrone A. Blackburn
thoroughly details what occurred. It provides the Court with relevant case law demonstrating that
the Plaintiffs were not negligent in perfecting service and deserve a limited extension of 5 days to
perfect service. The May 2, 2024, service of this summons and Complaint was timely served
within 120 days as required by CPLR § 306-b.
///
///
///
Case 1:24-cv-03880-LDH-LKE Document 8 Filed 06/19/24 Page 3 of 4 PageID #: 250




 II.    Defendants’ Motion to Dismiss Must Be Denied On Several Grounds:
             a. Defendants were On Notice:
        The Defendants have been on notice of this lawsuit and its claims for several years. This
case was before Chief Judge Margo Brodie and Magistrate Judge Lois Bloom. The defendants
filed several motions and failed to have the case dismissed.
        The defendants fully participated in all aspects of the litigation and were aware of the
Plaintiff's plan to refile in New York State Court, Kings County. During our last hearing, the
Defendants even informed the Court that they intended to remove the class action from Kings
County and return it to the Eastern District of New York under CAFA. On February 12, 2024,
Defendants were notified of the filing and asked if they intended to waive service. This fact is
conveniently absent from the Defendant's letter motion. See Shuford v. City of New York, No. 17-
cv-6349, 2020 U.S. Dist. LEXIS 103454, 2020 WL 3129262, at *2 E.D.N.Y. June 12, 2020
“explaining that extending the service deadline is proper when defendants have actual notice of
plaintiff's lawsuit before the statute of limitations has expired.” Patel v. Singh, 2023 U.S. Dist.
LEXIS 33172, *18.

             b. The Process Server misled the plaintiffs' Counsel:
        As detailed in the Tyrone Blackburn Affidavit, this writer was made to believe that the
service of process was completed on April 7, 2024. I paid for priority service, which guaranteed
service of the process to be completed by April 7, 2024. I have used We Serve Law for over four
years and have never experienced any service delays or issues in the past. I had no reason to
believe that We Serve Law had deceived me.
        In Valeri, 1989 U.S. Dist. LEXIS 3719, 1989 WL 37676, the Court found that the Plaintiff
had established enough of a showing of good cause to warrant an extension to time to permit the
Plaintiff to serve process again, even though the Plaintiff's process server probably made "sewer
service" on the Defendant. The Plaintiff made no subsequent attempts to effect service. The
process server had sworn (apparently falsely) that service had been completed, and the Court
concluded that the Plaintiff was reasonable in relying on this information. Because Plaintiff was
unaware of the defect in service until after the default was entered, well past the 120-day limit of
Rule 4(m), the Court vacated the default judgment, denied Defendant's motion to dismiss, and
granted Plaintiff 60 days to effect service. Hawthorne v. Citicorp Data Sys., 219 F.R.D. 47, 51.

            c. There is no harm to defendants by a 5-day delay in service:
        Absent from the Defendant's letter is any explanation of how a five-day delay in the timely
service of the summons and Complaint, according to CPLR § 205 (a), caused them to suffer harm.
The Defendants were timely served according to CPLR § 306-b. New York State and Federal
Courts have routinely compelled the defendants to accept service of the summons and Complaint
where the delay is no longer than a few days. In a delay in services where the delay in the service
of the Complaint is no longer than a few days, the courts readily compel the Defendant to accept
a complaint untimely served unless the Defendant can show the delay has prejudiced it. Imperiale
v. Prezioso, 4 Misc. 3d 716, 716, 781 N.Y.S.2d 580, 581 (Sup. Ct. 2004). Since Plaintiff served
Defendant a mere 17 days after her time to serve had expired, Defendant will suffer little, if any,
prejudice as a result of the delay in service. As such, I find that these factors warrant a discretionary
Case 1:24-cv-03880-LDH-LKE Document 8 Filed 06/19/24 Page 4 of 4 PageID #: 251




extension of time and hereby deem Plaintiff's service of the summons and Complaint upon
Defendant on August 6, 2004, as timely. Mares v. United States, No. 13-CV-6187-CJS, 2014 U.S.
Dist. LEXIS 77465, at *19 (W.D.N.Y. June 5, 2014).
        Here, the defendants acknowledged receipt of the summons and Complaint five days after
the deadline for service. They also acknowledged that the claims in this case were identical to the
claims in the prior action that was filed in the Eastern District of New York and were dismissed
for lack of subject matter jurisdiction by Chief Judge Margo Brodie. Conveniently absent from
the Defendant's letter is that they were provided notice (A copy of the filed summons and
Complaint) of the filing in February and refused to waive the service of process.
        The defendants attempt to squeak out a cheap victory after several defeats. On September
25, 2022, Chief Judge Margo Brodie published a 58-page memorandum and order thoroughly
denying the Defendants motion to dismiss. (See Blackburn Affidavit, Ex. 13).

            d. The Plaintiffs have a meritorious claim:
        As evidenced by Judge Brodies' September 25, 2022, opinion and order, the Plaintiffs have
a meritorious claim. Defendants do not and cannot dispute this. The Plaintiffs will suffer a grave
injustice as several of them will lose their ability to receive compensation for their stolen wages
due to the expiration of the statute of limitations if any part of this case is dismissed or severely
reduced. Plaintiff should not be punished due to the unethical actions of a deceptive process server
who took full responsibility for the mere five-day delay in the timely service of the summons and
Complaint according to CPLR § 205(a). As detailed earlier, despite the delay, the service of
process was timely according to CPLR § 306-b.
        In Miller v. Green, No. 05-CV-2548 (CBA), 2008 U.S. Dist. LEXIS 59887, at *10
(E.D.N.Y. August 6, 2008. The Court also rejects Green's argument that he has been greatly
prejudiced as a result of receiving untimely service. Although this Circuit has noted that a
defendant may be "harmed by a generous extension of the service period beyond the limitations
period for the action, especially if the defendant had no actual notice of the existence of the
complaint until the service period had expired," the Court has found good cause for the delay in
this case. Zapata, 502 F.3d at 198. The prejudice to the Defendant in delayed service is not, in the
Court's estimation, outweighed by the harm that would be suffered by the Plaintiff if his claims
were dismissed without recourse. Id.

Thank you for your time and attention.
                                                                     Respectfully Submitted,


                                                                     Tyrone A. Blackburn, Esq.
Cc: all counsels for record vis ECF.
